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IN THE UNITED STATES DISTRICT COURT b “ ' “"` f .".`
CRIMINAL NO.

FOR THE DISTRICT OF MARYLAND
’P)L \‘E>C,Q\ ‘E>‘-\'Q/

(Wire Fraud, 18 U.S.C. § 1343;
Fraud and False Statements,

26 U.S.C. § 7206(1); Forfeiture,

18 U.S.C. § 981(a)(1)(C), 21 U.S.C.
§ 853, 28 U.S.C. § 2461(c))

UNITED STATES OF AMERICA

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V.

BYUNG IL BANG,
a/kfa “Peter Bang,”

Defendant

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INFORMATION

COUNT ONE
(VVire Fraud)

The United States Attorney for the District of Maryland charges that:
Introduction

At all times relevant to this Information:

1. Defendant BYUNG IL BANG, a/k/a Peter Bang (“BANG”) was a resident of
Maryland. The Department of Economic Development (“MC~DED”) was a department within
the government of Montgomery County. ln 2016, l\/IC-D.ED became the Montgomery County
Department of Finance. MC-DED and the Departrnent of Finance were designed, in part, to
assist private employers who Were located, planning to locate, or substantially expand operations
in Montgomery County, Maryland. MC-DED and the Department of Finance funded the creation
of business innovation centers, or “incubators,” in order to assist small businesses developing in
Montgomery County. MC-DED and the Department of Finance had several incubators

throughout Montgornery County with different areas of focus, such as computer technology,

biological technology, and small minority and women-owned businesses (“the Montgomery
County incubators”).

2. From at least 2010, through approximately July 2016, BANG was employed as
the Chief Operating Officer of MC-DED. ln 2016, When MC-DED became the Department of
Finance, BANG became employed by the Department of Finance until May 2017.

3. During the course of his employment at MC-DED and the Department of Finance,
BANG’s duties included overseeing the budgets for the Montgomery County incubators and
requesting disbursements of County funds to help the incubator program.

4. The government of Montgomery County maintained an account at PNC Bank
with an account number ending in x8105 (the “Montgomery County Account”).

5. BANG maintained a personal checking account at Bank of Arnerica with an
account number ending in x1197 (the “Bang Account”).

The Scheme t0 Defraud

6. Between at least in or about 2010 and in or about 2017, in the District of
Maryland and elsewhere, BANG devised a scheme and artifice to defraud Montgomery County
and to obtain money from Montgomery County, that is, at least $6,705,669.37 spread over
numerous separate transactions, by means of materially false and fraudulent pretenses,
representations and promises, with the intent to defraud and with knowledge of the scheme’s
fraudulent nature (“the scheme to defraud”).

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7. I.t was part of the scheme to defraud that BANG stole money from Montgornery

County by causing MC-DED and the Department of Finance to send checks and direct deposit

transfers to the Bang Account.

8. It was further part of the scheme to defraud that BANG created nominee entities
to issue fraudulent invoices to Montgomery County in order to conceal the money BANG

embezzled

9. lt was further part of the scheme to defraud that BANG used the funds embezzled
from Montgomery County for his personal use.

The Charge
10. On or about August 10, 2015 , in the District of Maryland and elsewhere, the

defendant,

BYUNG IL BANG,
for the purpose of` executing and attempting to execute the scheme to defraud, knowingly caused
the transmission of a wire communication in interstate commerce, that is, a $521,484 wire
transmission from the Montgomery County Account in Maryland through a server outside of`

Maryland, to the Bang Account in Maryland.

18 U.S.C. § 1343

COUNT TWO
(Fraud and False Statements)

The U.S. Attorney for the District of Maryland iiirther charges that:

l. Paragraphs l through 9 of Count One incorporated here.

2. On or about April 10, 2016, in the District of Maryland and elsewhere, the
defendant,

BYUNG IL BANG,

did willfully make and subscribe a 2015 U.S. Individual lncome Tax Retum, Form 1040, which
was verified by a written declaration that it was made under the penalties of perjury and which
BANG did not believe to be true and correct as to every material matter. That Forin 1040, which
was prepared and signed in the District of Maryland, and Was filed with the lnternal Revenue
Service, stated that BANG had total income of 32,084,63 l, whereas, as he then and there knew,

he received $1,398,315.50 in addition to the amount stated on the return.

26 U.s.C. § 7206(1)

FORFEITURE ALLEGATION

The U.S. Attorney for the District of Maryland further finds that:

l. Pursuant to Federal Rule of Crirninal Procedure 32.2, notice is hereby given to the
defendant that the United States will seek forfeiture as part of any sentence in accordance with
18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(0), in the event ofthe defendant’s conviction on
Count One of this Information.

2. As a result of the offense set forth in Count One, the defendant,

BYUNG IL BANG,
shall forfeit to the United States any property, real or personal, which constitutes or is traceable
to such violation, including but not limited to at least $6,705,669.37 in United States currency.
Substitute Assets
3. If, as a result of any act or omission of any defendant, any of the property

described above as being subject to forfeiture:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third person;

c. has been placed beyond the jurisdiction of the Couit;

d. has been substantially diminished in value; or,

e. has been commingled with other property which cannot be subdivided
without difficulty,

the United States shall be entitled to forfeiture of substitute property, pursuant to 21 U.S.C.

§ 853(p), up to the value of the forfeitable property, that is, at least $6,705,669.37.

18 U.s.c. § 981(a)(1)(c)
21 u.s.c. § 853
28 U.s.c. § 2461(¢)

Robert K. Hur ]

United States Attorney

